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UNITED STATES DISTRICT COURT a
NORTHERN DISTRICT OF TEXAS | cpa 1A 2022
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DERRICK DAEYON MURRELL,

Movant, USDC Case No. 4:22-cv-____

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V. )

) USDC Case No. 4:20-cr-244
UNITED STATES OF AMERICA, )

) Hon. Reed C. O’Connor

) United States District Judge

Respondent.

PRO SE MEMORANDUM OE LAW IN SUPPORT
OF MOTION TO VACATE, SET ASIDE OR CORRECT A FEDERAL
SENTENCE OR CONVICTION PURSUANT TO 28 U.S.C. §2255

[Return Date to be Fixed by the Court]

COMES NOW DERRICK DAEYON MURRELL, Movant pro se, in the
above styled and numbered cause, and respectfully submits this
Memorandum of Law in support of the Motion to Vacate pursuant to 28
U.S.C, §2255, and would show the Court the following facts, circumstances,

and points of law.

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I. Introduction
Mr. Murrell asks this Honorable Court to grant an out-of-time appeal,
reinstate the criminal judgment on the docket, and file a notice of appeal on
behalf of Mr. Murrell, based on former counsel’s ineffective assistance in
failing to adequately and accurately consult with him on his appellate rights,

despite his inquiries to counsel following his sentencing.

II. Jurisdiction

Pursuant to 28 U.S.C. §2255, “[a] prisoner in custody under sentence of
a court established by Act of Congress claiming the right to be released upon
the ground that the sentence was imposed in violation of the Constitution or
laws of the United States, ... or is otherwise subject to collateral attack, may
move the court which imposed sentence to vacate, set aside, or correct
sentence.” Mr. Murrell so moves this Court on grounds that he was denied
the effective assistance of counsel by former counsel's failure to adequately

and accurately consult with him on his appellate rights.
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If. Review Standards

A motion for relief under §2255 follows the procedures established by
the “Rules Governing Section 2255 Cases in the United States District Courts”
(“Rules”). The text of §2255 states that “[u]nless the motion and the files and
records of the case conclusively show that the prisoner is entitled to no relief,
the court shall cause notice thereof to be served on the United States attorney,
grant a prompt hearing thereon, determine the issues and make findings of
fact and conclusions of law with respect thereto.”* Similarly, the Rules dictate
that, upon initial consideration by the assigned District Judge, a §2255 motion
should be dismissed only “ifit plainly appears from the motion, any attached
exhibits, and the record of prior proceedings that the moving party is not
entitled to relief.”* In all other cases, “the judge must order the United States
attorney to file an answer, motion, or other response within a fixed time, or

to take action the judge may order.”* The Rules authorize, where appropriate

; 28 U.S.C. §2255 (emphasis added).
> Rule 4(b) (emphasis added).

5 Id.
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and by order of the Court, discovery proceedings, an expansion of the record,
and an evidentiary hearing.

Subsequent to the “Preliminary Review” stage set out in Rule 4, the
ultimate legal standard for motions brought pursuant to §2255 is prescribed

by statute:

If the court finds that . . . the sentence imposed was

not authorized by law or otherwise open to collateral

attack, or that there has been such a denial or :
infringement of the constitutional rights of the

prisoner as to render the judgment vulnerable to

collateral attack, the court shall vacate and set the

judgment aside and shall discharge the prisoner or
resentence him or grant him a new trial or correct the

sentence as may appear appropriate.*

4-28 ULS.C. §2255.
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IV. Grounds for Relief

A. Ground One:
Mr. Murrell was Deprived of the Effective Assistance of Counsel by
Counsel’s Failure to Adequately and Accurately Consult with Him
Concerning His Appellate Rights

[1]. The Applicable Standard

The Sixth Amendment guarantees criminal defendants the right to
“reasonably effective” legal assistance, both at trial and on appeal. Strickland
v. Washington, 466 U.S. 668, 687 (1984). To establish a claim for ineffective
assistance of counsel, amovant must satisfy the “now-familiar” Strickland test
and demonstrate that: (1) his attorney’s representation “fell below an objective
standard of reasonableness”; and (2) he was prejudiced by his counsel's
deficient performance. Roe v. Flores-Ortega, 528 U.S. 470, 476-77 (2000) (quoting
Strickland, 466 U.S. at 687-88). A movant’s failure to satisfy either prong of the
Strickland test is generally fatal to his claim. Strickland, 466 U.S. at 700; see
United States v. Bejarano, 751 F.3d 280, 285 (5th Cir. 2014).

Where a movant does not specifically direct his attorney to file an

appeal, as in this case, his attorney may perform deficiently by failing to
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adequately and accurately consult with him regarding an appeal. See, e.g.,
Flores-Ortega, 528 U.S. at 478 (“In those cases where the defendant neither
instructs counsel to file an appeal nor asks that an appeal not be taken, we
believe the question whether counsel has performed deficiently by not filing
a notice of appeal is best answered by first asking a separate, but antecedent,
question: whether counsel in fact consulted with the defendant about an
appeal.”); Lopez-Lara v. United States, Civil Action No. B-13-178, 2014 WL
11531891, at *11 (S.D. Tex. Aug. 7, 2014) (explaining that the court was
required to determine whether movant’s attorney had a duty to consult
regarding an appeal, despite movant’s failure to ask his attorney to file an
appeal). “In this context, ‘consult’ means that counsel tendered advice about
the advantages and disadvantages of appealing and made a ‘reasonable effort
to discover’ the defendant's wishes on the issue.” United States v. Calderon, 665
F, App'x 356, 364 (5th Cir. 2016). “[T]here is no mechanical rule that
consultation must always follow sentencing, but counsel’s cursory discussion

before sentencing [does] not compensate for the complete failure to mention
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the possibility of appeal after sentencing.” Esquivel v. United States, No.
3:15-cv-553-D-BN, 2016 WL 6902150, at *5 (N.D. Tex. Oct. 3, 2016) (quoting
United States v. Pham, 722 P.3d 320, 324 n.16 (5th Cir. 2013) ) (emphasis in
original) (internal quotation marks omitted). Additionally, the Supreme Court
has noted that “district courts would find a duty to consult ‘in the vast
majority of cases.’ ” Pham, 722 F.3d at 324.

The first Strickland prong, known as the “performance” prong, “begins
with the question whether counsel ‘consulted’ with the defendant regarding
an appeal.” Id. at 323 (quoting Flores-Ortega, 528 U.S. at 478). Where an
attorney fails to consult with a client regarding an appeal, “then the question
is whether that failure was unreasonable because it breached the duty to
consult.” Id. at 324; see also Flores-Ortega, 528 U.S. at 478 (explaining that even
where an attorney “has not consulted with the defendant, the court must in
turn ask a second, and subsidiary, question: whether counsel’s failure to
consult with the defendant itself constitutes deficient performance”). An

attorney “has a constitutionally imposed duty to consult with the defendant
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about an appeal when there is reason to think either (1) that a rational
defendant would want to appeal (for example, because there are
non-frivolous grounds for appeal), or (2) that this particular defendant
reasonably demonstrated to counsel that he was interested in appealing.”
Pham, 722 F.3d at 324 (quoting Flores-Ortega, 528 U.S. at 480). The court must
assess an attorney’s duty to consult “in light of ‘all the information counsel
knew or should have known,’ ” Id. (quoting Flores-Ortega, 528 U.S. at 480).
“Whether the conviction followed a trial or a guilty plea is ‘highly relevant,’
although not determinative, as is whether the defendant waived his right to
appeal and whether he received a sentence for which he bargained.” Id.
(quoting Flores-Ortega, 528 U.S, at 480).

When an attorney breaches his constitutionally-imposed duty to
consult, prejudice will not be presumed. Hurrelbrink v. United States, No.
3:14-CR-148-L-4, 2017 WL 1683663, at *2 (N.D. Tex. Mar. 27, 2017), report and
recommendation adopted, No. 3:15-CV-3978-L, 2017 WL 1649965 (N.D. Tex.

May 2, 2017) (citing Flores-Ortega, 528 U.S. at 484); Esquivel, 2016 WL 6902150,
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at "4. Instead, “under Flores-Ortega, a defendant satisfies the second Strickland
prong [the “prejudice” prong] if he shows ‘that there is a reasonable
probability that, but for counsel's deficient failure to consult with him about
an appeal, he would have timely appealed.’ ” Pham, 722 F.3d at 324 (quoting
Flores-Ortega, 528 U.S. at 484). “A reasonable probability is a probability
sufficient to undermine confidence in the outcome,” which requires a
“substantial,” not just “conceivable” likelihood of a different result. Cullen v.
Pinholster, 563 U.S. 170, 189 (2011) (quoting Strickland, 466 U.S. at 694),
“[Ejvidence that there were nonfrivolous grounds for appeal or that the
defendant in question promptly expressed a desire to appeal will often be
highly relevant in making this determination.” Flores-Ortega, 528 U.S. at 485.
To establish prejudice, however, a defendant need not “demonstrate that his
hypothetical appeal might have had merit...” Id. at 486. The Fifth Circuit has
held that “Flores-Ortega applies ‘even where a defendant has waived his right
to direct appeal and collateral review.’ ” Bejarano, 751 F.3d 285 (quoting Tapp,

491 F.3d at 266).
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[2]. Mr. Murrell Reasonably Demonstrated That He Wished to
Appeal and His Desire to Appeal was Frustrated by Former
Counsel’s Failure to Provide Legal Advice Necessary to Allow
Mr. Murrell to Make an Informed Decision as to Whether to
Appeal and Seek to Evade the Appellate Waiver Based on the
Lack of Consideration He Received Under the Plea Agreement

Former counsel did not adequately and accurately consult with Mr.
Murrell on the potential benefits of appealing the sentence imposed or even
inform him that he enjoyed a potential means to evade the appellate waiver
contained in the plea agreement he entered, instead responding to Mr.
Murrell’s desire to appeal with a confusing response that appealing could

result in Mr. Murrell’s cross-examination.© Compounding counsel’s

° See Exhibit (“EX”) #1, Declaration of Derrick Daeyon Murrell in
Support of Motion to Vacate, Set Aside or Correct a Federal Sentence or
Conviction Pursuant to 28 U.S.C. §2255, FY 4-5, [attached to the
contemporaneously submitted Motion to Expand the Record] (“4. After I
was sentenced — and was deprived of the acceptance of responsibility
reduction, which was a main reason I pleaded guilty and received a two-
level enhancement for obstruction, which impacted by USSG range as
follows: original total offense level (“TOL”) 31, which at my criminal
history category (“CHC”) of IV, triggered an advisory guidelines range of
151-188 months, without acceptance and with obstruction my TOL became
36, which at my CHC of IV, triggered an advisory guidelines range of 262-
327 months’ imprisonment — I asked Mr. Cox about appealing. Mr. Cox
replied that I “could be cross-examined,” so appealing would not be a

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deficiencies in this regard, is the reality that former counsel did not
meaningfully “consult” with Mr. Murrell regarding a possible appeal,
particularly after he communicated specific dissatisfaction with aspects of his
sentencing. See Esquivel, 2016 WL 6902150, at *5 (citing Pham for proposition
that cursory discussions prior to sentencing do not compensate for failure to
discuss possibility of appeal after sentencing).

Former counsel had a constitutionally imposed duty to consult with Mr.
Murrell regarding an appeal, as Mr. Murrell’s communications with counsel
following sentencing reasonably demonstrated to counsel that he was
interested in appealing. Pham, 722 F.3d at 324 (quoting Flores-Ortega, 528 U.S.
at 480). Thus, “in light of ‘all the information counsel knew or should have

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known,” id., former counsel was constitutionally required to meet with Mr.
Murrell following his sentencing to discuss the potential benefits of appealing

the sentence — especially because the outcome of sentencing provided Mr.

good idea. 5. I was not aware that the appellate waiver in my plea
agreement might not apply as I had received no tangible benefit from that
agreement.”).

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Murrell with a viable argument to evade the appellate waiver included in his
plea agreement — and to ascertain his wishes concerning his appellate rights.

Counsel was deficient for failing to ensure that Mr. Murrell understood
that he had a viable basis to seek to appeal his sentencing, despite the
appellate waiver contained in the plea agreement. This is true because at
sentencing it became clear that Mr. Murrell would be receiving no tangible
benefit from the prosecution under the plea agreement. Courts recognize that
a plea agreement that provides no consideration or benefit, beyond that which
a defendant may secure for him or herself, by simply pleading guilty is void
for lack of consideration. See, e. g., United States v. Lutchman, 910 F3d 33, 37-38
(2d Cir. 2018). A plea bargain is a compromise; otherwise it would not be a
“bargain.” Mabry v. Johnson, 467 U.S. 504, 508 n. 8 (1984) (“It is this mutuality
of advantage that perhaps explains the fact that at present well over
three-fourths of the criminal convictions in this country rest on pleas of
guilty[.]”). “The application of contract law to plea agreements is premised on

the notion that a negotiated guilty plea represents a bargained-for quid pro

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quo.” United States v. Asset, 990 F.2d 208, 215 (5th Cir. 1993), A plea agreement
without benefit or advantage to the defendant is “offensive both to the
fundamental common law canons of contract construction and to the
constitutional guarantee of due process.” United States v. Randolph, 230 F.3d
243, 249 (6th Cir. 2000); see Dillon v. United States, 307 F.2d 445, 449 (9th Cir.
1962) (An inducement to enter a guilty plea based on an illusory promise is
a violation of due process). A defendant who purports to enter into a plea
agreement that confers no benefit to him has not entered a knowing voluntary
plea. Randolph, 230 F.3d at 250, 251 (“A defendant in Randolph’s position is
entitled to presume a plea agreement would confer some benefit on him. ...
[W]e cannot say that he entered into it knowingly and voluntarily, since he
was in no way informed as to the illusory nature of the government's
promise.”). The plea agreement in this case makes clear that the United States
was not obligated to provide Mr. Murrell with any consideration as no benefit
was provided.

The Second Circuit is at the forefront of recognizing and developing a

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conceptual approach to analyzing plea agreements, to determine, whether, by
virtue of their lack of consideration to the defendant, they are void.

Lutchman’s waiver of the right to appeal his sentence
was unsupported by consideration. The plea
agreement provided that Lutchman would waive
indictment, plead guilty to a violation of 18 U.S.C. §
2339B(a)(1), and waive the right to appeal any
sentence lesser than or equal to the 240-month
maximum. The government would achieve “a
conviction without the expense and effort of proving
the charges at trial beyond a reasonable doubt” and
save the time and expense of an appeal.

Lutchman, however, received no benefit from his plea
beyond what he would have gotten by pleading
guilty without an agreement. [] True, the government
agreed not to oppose a two-level reduction under
Guidelines § 3E1.1(a) for Lutchman’s acceptance of
responsibility and agreed to move the district court to
apply an additional one-level reduction under
Guidelines § 3E1.1(b) for Lutchman’s timely
notification to the government of his intention to
plead guilty. But a three-level reduction under
Guidelines § 3E1.1 was available to Lutchman even in
the absence of an agreement to waive his right to
appeal...

The plea agreement here provided Lutchman with no

increment of certainty as to the extent of his liability
and punishment, and it provided him no chance at a

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reduced sentence. Because the agreement offered
nothing to Lutchman that affected the likelihood he
would receive a [lesser] sentence [], the appellate
waiver was unsupported by consideration, and we
will not enforce it to bar this appeal. Accordingly, in
the absence of a request by either party to remand
because the plea agreement is unenforceable, we will
sever the waiver from the plea agreement and
proceed to the merits of Lutchman’s arguments.°

Because Mr. Murrell reasonably demonstrated an interest in appealing,
and because he enjoyed a viable appellate approach which would evade the
appellate waived in the apparently void-for-lack-of-consideration plea
agreement, former counsel's failure to consult with him concerning his
appellate rights and this reality falls below the minimal level of competence

required of criminal defense counsel, satisfying the performance prong of

Strickland.

. Lutchman, 910 F.3d at 37-38 (internal quotations and citations
omitted).

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[3]. Prejudice

Absent former counsel's failure to adequately and accurately consult,
there is a reasonable probability that Mr. Murrell would have appealed his
sentence, regardless of whether his appeal had merit. See Bejarano, 751 F.3d at
286. In Flores-Ortega, the Supreme Court recognized that in many cases, “the
performance and prejudice prongs may overlap, [but] they are not in all cases
coextensive.” 528 U.S. at 486, Thus, “although showing nonfrivolous grounds
for appeal may give weight to the contention that the defendant would have
appealed,” a defendant may also “satisfy the prejudice requirement when
there are other substantial reasons to believe that he would have appealed.”

Id.

Mr. Murrell has established prejudice based on the reality that: 1) the
record reflects he was unaware that he enjoyed an appellate approach which
would allow him to evade the appellate waiver in his plea agreement and
thereby allow him to appeal the procedural reasonableness of his sentence,

based on the objections overruled at sentencing and preserved for appellate

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review by former counsel’s objection;’ 2) Mr. Murrell’s desire to appeal,
conveyed to former counsel;* and 3) Mr. Murrell’s sworn statement that he
would have appealed if counsel had adequately and accurately consulted
with him concerning the benefits of taking an appeal and arguing that the
appellate waiver in the plea agreement was void for lack of
consideration.’Additionally, Mr. Murrell is filing the instant pro se § 2255
motion in an effort to pursue a direct appeal of the sentence imposed. Mr.
Murrell’s filing of this motion in conjunction with his post-sentencing
communications with former counsel and verified declaration, is sufficient to

undermine confidence in a conclusion that, had defense counsel sufficiently

? See DE #66, p. 11 (“THE COURT: Is there any objection from the
Government to this sentence? MR. SMITH: No, Your Honor. THE COURT:
From the Defense? MR. COX: Yes, Your Honor. THE COURT: I overrule
that objection. I believe this is the appropriate sentence, given all of the
facts and the circumstances.”).

8 See EX #1, YA.

° See EX #1, 96 (“Had counsel informed me that I might be able to
convince the Fifth Circuit that my appellate waiver was unenforceable by
virtue of the reality that I had received no tangible benefit for entering into
such agreement, I would have instructed counsel to file a notice of appeal
on my behalf.”),

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consulted with him, an appeal would not have been filed. Bejarano, 751 F.3d
at 286-87; see Flores-Ortega, 528 U.S. at 486; Esquivel, 2016 WL 6902150, at *8
(finding petitioner demonstrated prejudice where he testified he would have
directed counsel to appeal the drug weight amounts if counsel had consulted
with him, and petitioner filed a pro se motion to reduce his sentence three
months post-sentencing); Murrell v. United States, 2:13-CV-0019, 2015 WL
9872538, at *3 (N.D. Tex. Dec. 30, 2015) (finding that where an attorney does
not complete a consultation by making a reasonable effort to determine
whether the defendant wants to appeal, and the defendant demonstrates

prejudice, the defendant is entitled to an out-of-time appeal).

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V. Prayer for Relief

Derrick Daeyon Murrell, having been deprived of his fundamental right
to the effective assistance of counsel, guaranteed by the Fifth and Sixth
Amendments to the United States Constitution, respectfully requests that this
Honorable Court restore those rights by granting an out-of-time appeal,
reinstating the criminal judgment on the docket, and filing a notice of appeal

on behalf of Mr. Murrell.

Respectfully submitted this 0 7. day of February, 2022.

lash aya Marah
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VI. Verification
1, Derrick Daeyon Murrell, verify under penalty of perjury, pursuant to
28 U.S.C. §1746 that the foregoing is true and correct. Executed this OF day
of February, 2022.

(Leek aye Meocall

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